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                    EXHIBIT A
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       (Slip Opinion)              OCTOBER TERM, 2023                                       1

                                              Syllabus

                NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
              being done in connection with this case, at the time the opinion is issued.
              The syllabus constitutes no part of the opinion of the Court but has been
              prepared by the Reporter of Decisions for the convenience of the reader.
              See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


       SUPREME COURT OF THE UNITED STATES

                                              Syllabus

          SHEETZ v. COUNTY OF EL DORADO, CALIFORNIA

           CERTIORARI TO THE COURT OF APPEAL OF CALIFORNIA,
                       THIRD APPELLATE DISTRICT

           No. 22–1074. Argued January 9, 2024—Decided April 12, 2024
       As a condition of receiving a residential building permit, petitioner
         George Sheetz was required by the County of El Dorado to pay a
         $23,420 traffic impact fee. The fee was part of a “General Plan” en-
         acted by the County’s Board of Supervisors to address increasing de-
         mand for public services spurred by new development. The fee amount
         was not based on the costs of traffic impacts specifically attributable
         to Sheetz’s particular project, but rather was assessed according to a
         rate schedule that took into account the type of development and its
         location within the County. Sheetz paid the fee under protest and ob-
         tained the permit. He later sought relief in state court, claiming that
         conditioning the building permit on the payment of a traffic impact fee
         constituted an unlawful “exaction” of money in violation of the Takings
         Clause. In Sheetz’s view, the Court’s decisions in Nollan v. California
         Coastal Comm’n, 483 U. S. 825, and Dolan v. City of Tigard, 512 U. S.
         374, required the County to make an individualized determination
         that the fee imposed on him was necessary to offset traffic congestion
         attributable to his project. The courts below ruled against Sheetz
         based on their view that Nollan and Dolan apply only to permit condi-
         tions imposed on an ad hoc basis by administrators, not to a fee like
         this one imposed on a class of property owners by Board-enacted leg-
         islation. 84 Cal. App. 5th 394, 402, 300 Cal. Rptr. 3d 308, 312.
       Held: The Takings Clause does not distinguish between legislative and
         administrative land-use permit conditions. Pp. 4–11.
            (a) When the government wants to take private property for a pub-
         lic purpose, the Fifth Amendment’s Takings Clause requires the gov-
         ernment to provide the owner “just compensation.” The Takings
         Clause saves individual property owners from bearing “public burdens
         which, in all fairness and justice, should be borne by the public as a
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                                         Syllabus

           whole.” Armstrong v. United States, 364 U. S. 40, 49. Even so, the
           States have substantial authority to regulate land use, see Village of
           Euclid v. Ambler Realty Co., 272 U. S. 365, and a State law that merely
           restricts land use in a way “reasonably necessary to the effectuation of
           a substantial government purpose” is not a taking unless it saps too
           much of the property’s value or frustrates the owner’s investment-
           backed expectations. Penn Central Transp. Co. v. New York City, 438
           U. S. 104, 123, 127. Similarly, when the government can deny a build-
           ing permit to further a “legitimate police-power purpose,” it can also
           place conditions on the permit that serve the same end. Nollan, 483
           U. S., at 836. For example, if a proposed development will “substan-
           tially increase traffic congestion,” the government may condition the
           building permit on the owner’s willingness “to deed over the land
           needed to widen a public road.” Koontz v. St. Johns River Water Man-
           agement Dist., 570 U. S. 595, 605. But when the government with-
           holds or conditions a building permit for reasons unrelated to its legit-
           imate land-use interests, those actions amount to extortion. See
           Nollan, 483 U. S., at 837.
              The Court’s decisions in Nollan and Dolan address the potential
           abuse of the permitting process by setting out a two-part test modeled
           on the unconstitutional conditions doctrine. See Perry v. Sindermann,
           408 U. S. 593, 597. First, permit conditions must have an “essential
           nexus” to the government’s land-use interest, ensuring that the gov-
           ernment is acting to further its stated purpose, not leveraging its per-
           mitting monopoly to exact private property without paying for it. See
           Nollan, 483 U. S., at 837, 841. Second, permit conditions must have
           “rough proportionality” to the development’s impact on the land-use
           interest and may not require a landowner to give up (or pay) more than
           is necessary to mitigate harms resulting from new development. See
           Dolan, 512 U. S., at 391, 393; Koontz, 570 U. S., at 612–615. Pp. 4–6.
              (b) The County’s traffic impact fee was upheld below based on the
           view that the Nollan/Dolan test does not apply to monetary fees im-
           posed by a legislature, but nothing in constitutional text, history, or
           precedent supports exempting legislatures from ordinary takings
           rules. The Constitution provides “no textual justification for saying
           that the existence or the scope of a State’s power to expropriate private
           property without just compensation varies according to the branch of
           government effecting the expropriation.” Stop the Beach Renourish-
           ment, Inc. v. Florida Dept. of Environmental Protection, 560 U. S. 702,
           714 (plurality opinion). Historical practice similarly shows that legis-
           lation was the conventional way that governments at the state and
           national levels exercised their eminent domain power to obtain land
           for various governmental purposes, and to provide compensation to
           dispossessed landowners. The Fifth Amendment enshrined this long
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                             Cite as: 601 U. S. ____ (2024)                      3

                                        Syllabus

         standing practice. Precedent points the same way as text and history.
         A legislative exception to the Nollan/Dolan test “conflicts with the rest
         of [the Court’s] takings jurisprudence,” which does not otherwise dis-
         tinguish between legislation and other official acts. Knick v. Township
         of Scott, 588 U. S. 180, 185. That is true of precedents involving phys-
         ical takings, regulatory takings, and the unconstitutional conditions
         doctrine which underlies the Nollan/Dolan test. Pp. 7–10.
            (c) As the parties now agree, conditions on building permits are not
         exempt from scrutiny under Nollan and Dolan just because a legisla-
         tive body imposed them. Whether a permit condition imposed on a
         class of properties must be tailored with the same degree of specificity
         as a permit condition that targets a particular development is an issue
         for the state courts to consider in the first instance, as are issues con-
         cerning whether the parties’ other arguments are preserved and how
         those arguments bear on Sheetz’s legal challenge. Pp. 10–11.
       84 Cal. App. 5th 394, 300 Cal. Rptr. 3d 308, vacated and remanded.

         BARRETT, J., delivered the opinion for a unanimous Court.             SO-
       TOMAYOR, J., filed a concurring opinion, in which JACKSON, J., joined.
       GORSUCH, J., filed a concurring opinion. KAVANAUGH, J., filed a concur-
       ring opinion, in which KAGAN and JACKSON, JJ., joined.
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                                    Opinion of the Court

            NOTICE: This opinion is subject to formal revision before publication in the
            United States Reports. Readers are requested to notify the Reporter of
            Decisions, Supreme Court of the United States, Washington, D. C. 20543,
            pio@supremecourt.gov, of any typographical or other formal errors.


       SUPREME COURT OF THE UNITED STATES
                                          _________________

                                          No. 22–1074
                                          _________________


          GEORGE SHEETZ, PETITIONER v. COUNTY OF
                  EL DORADO, CALIFORNIA
          ON WRIT OF CERTIORARI TO THE COURT OF APPEAL OF
               CALIFORNIA, THIRD APPELLATE DISTRICT
                                        [April 12, 2024]

          JUSTICE BARRETT delivered the opinion of the Court.
          George Sheetz wanted to build a small, prefabricated
       home on his residential parcel of land. To obtain a permit,
       though, he had to pay a substantial fee to mitigate local
       traffic congestion. Relying on this Court’s decisions in Nol-
       lan v. California Coastal Comm’n, 483 U. S. 825 (1987), and
       Dolan v. City of Tigard, 512 U. S. 374 (1994), Sheetz chal-
       lenged the fee as an unlawful “exaction” of money under the
       Takings Clause. The California Court of Appeal rejected
       that argument because the traffic impact fee was imposed
       by legislation, and, according to the court, Nollan and Do-
       lan apply only to permit conditions imposed on an ad hoc
       basis by administrators. That is incorrect. The Takings
       Clause does not distinguish between legislative and admin-
       istrative permit conditions.
                                   I
                                   A
          El Dorado County, California is a rural jurisdiction that
       lies east of Sacramento and extends to the Nevada border.
       Much of the County’s 1,700 square miles is backcountry. It
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                               Opinion of the Court

       is home to the Sierra Nevada mountain range and the Eldo-
       rado National Forest. Those areas, composed mainly of
       public lands, are sparsely populated. Visitors from around
       the world use the natural areas for fishing, backpacking,
       and other recreational activities.
          Most of the County’s residents are concentrated in the
       west and east regions. In the west, the towns of El Dorado
       Hills, Cameron Park, and Shingle Springs form the outer
       reaches of Sacramento’s suburbs. Placerville, the county
       seat, lies just beyond them. In the east, residents live along
       the south shores of Lake Tahoe. Highway 50 connects these
       population centers and divides the County into north and
       south portions.
          In recent decades, the County has experienced significant
       population growth, and with it an increase in new develop-
       ment. To account for the new demand on public services,
       the County’s Board of Supervisors adopted a planning doc-
       ument, which it calls the General Plan, to address issues
       ranging from wastewater collection to land-use re-
       strictions.1 The Board of Supervisors is a legislative body
       under state law, and the adoption of its General Plan is a
       legislative act. See Cal. Govt. Code Ann. §65300 et seq.
       (West 2024).
          To address traffic congestion, the General Plan requires
       developers to pay a traffic impact fee as a condition of re-
       ceiving a building permit. The County uses proceeds from
       these fees to fund improvements to its road system. The fee
       amount is determined by a rate schedule, which takes into
       account the type of development (commercial, residential,
       and so on) and its location within the County. The amount
       is not based on “the cost specifically attributable to the par-
       ticular project on which the fee is imposed.” 84 Cal. App.
       5th 394, 402, 300 Cal. Rptr. 3d 308, 312 (2022).
       ——————
        1 See County of El Dorado Adopted General Plan, https://edcgov.us/

       Government/planning/Pages/adopted_general_plan.aspx.
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                               Opinion of the Court

                                      B
          George Sheetz owns property in the center of the County
       near Highway 50, which the General Plan classifies as “Low
       Density Residential.” 2 Sheetz and his wife applied for a
       permit to build a modest prefabricated house on the parcel,
       with plans to raise their grandson there. As a condition of
       receiving the permit, the County required Sheetz to pay a
       traffic impact fee of $23,420, as dictated by the General
       Plan’s rate schedule. Sheetz paid the fee under protest and
       obtained the permit. The County did not respond to his re-
       quest for a refund.
          Sheetz sought relief in state court. He claimed, among
       other things, that conditioning the building permit on the
       payment of a traffic impact fee constituted an unlawful “ex-
       action” of money in violation of the Takings Clause. In
       Sheetz’s view, our decisions in Nollan v. California Coastal
       Comm’n, 483 U. S. 825, and Dolan v. City of Tigard, 512
       U. S. 374, required the County to make an individualized
       determination that the fee amount was necessary to offset
       traffic congestion attributable to his specific development.
       The County’s predetermined fee schedule, Sheetz argued,
       failed to meet that requirement.
          The trial court rejected Sheetz’s claim and the California
       Court of Appeal affirmed. Relying on precedent from the
       California Supreme Court, the Court of Appeal asserted
       that the Nollan/Dolan test applies only to permit conditions
       imposed “ ‘on an individual and discretionary basis.’ ” 84
       Cal. App. 5th, at 406, 300 Cal. Rptr. 3d, at 316 (quoting San
       Remo Hotel L. P. v. City and Cty. of San Francisco, 27 Cal.
       4th 643, 666–670, 41 P. 3d 87, 102–105 (2002)). Fees im-
       posed on “a broad class of property owners through legisla-
       tive action,” it said, need not satisfy that test. 84 Cal. App.

       ——————
         2 See Figure LU–1: Land Use Diagram, https://edcgov.us/government/

       planning/adoptedgeneralplan/figures/documents/LU-1.pdf.
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                                  Opinion of the Court

       5th, at 407, 300 Cal. Rptr. 3d, at 316. The California Su-
       preme Court denied review.
          State courts have reached different conclusions on the
       question whether the Takings Clause recognizes a distinc-
       tion between legislative and administrative conditions on
       land-use permits.3 We granted certiorari to resolve the
       split. 600 U. S. ___ (2023).
                                    II
                                     A
          When the government wants to take private property to
       build roads, courthouses, or other public projects, it must
       compensate the owner at fair market value. The just com-
       pensation requirement comes from the Fifth Amendment’s
       Takings Clause, which provides: “nor shall private property
       be taken for public use, without just compensation.” By re-
       quiring the government to pay for what it takes, the Tak-
       ings Clause saves individual property owners from bearing
       “public burdens which, in all fairness and justice, should be
       borne by the public as a whole.” Armstrong v. United
       States, 364 U. S. 40, 49 (1960).
          The Takings Clause’s right to just compensation coexists
       with the States’ police power to engage in land-use plan-
       ning. (Though at times the two seem more like in-laws than
       soulmates.) While States have substantial authority to reg-
       ulate land use, see Village of Euclid v. Amber Realty Co.,
       272 U. S. 365 (1926), the right to compensation is triggered
       if they “physically appropriat[e]” property or otherwise in-

       ——————
          3 Compare, e.g., Home Builders Assn. of Dayton and Miami Valley v.

       Beavercreek, 89 Ohio St. 3d 121, 128, 729 N. E. 2d 349, 356 (2000); North-
       ern Ill. Home Builders Assn. v. County of Du Page, 165 Ill. 2d 25, 32–33,
       649 N. E. 2d 384, 389 (1995) (applying the Nollan/Dolan test to legisla-
       tive permit conditions), with, e.g., St. Clair Cty. Home Builders Assn. v.
       Pell City, 61 So. 3d 992, 1007 (Ala. 2010); Home Builders Assn. of Central
       Ariz. v. Scottsdale, 187 Ariz. 479, 486, 930 P. 2d 993, 1000 (1997) (follow-
       ing California’s approach).
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       terfere with the owner’s right to exclude others from it, Ce-
       dar Point Nursery v. Hassid, 594 U. S. 139, 149–152 (2021).
       That sort of intrusion on property rights is a per se taking.
       Loretto v. Teleprompter Manhattan CATV Corp., 458 U. S.
       419, 426 (1982). Different rules apply to State laws that
       merely restrict how land is used. A use restriction that is
       “reasonably necessary to the effectuation of a substantial
       government purpose” is not a taking unless it saps too much
       of the property’s value or frustrates the owner’s investment-
       backed expectations. Penn Central Transp. Co. v. New York
       City, 438 U. S. 104, 123, 127 (1978); see also Lucas v. South
       Carolina Coastal Council, 505 U. S. 1003, 1016 (1992)
       (“[T]he Fifth Amendment is violated when land-use regula-
       tion does not substantially advance legitimate state inter-
       ests or denies an owner economically viable use of his land”
       (internal quotation marks omitted)).
          Permit conditions are more complicated. If the govern-
       ment can deny a building permit to further a “legitimate
       police-power purpose,” then it can also place conditions on
       the permit that serve the same end. Nollan, 483 U. S., at
       836. Such conditions do not entitle the landowner to com-
       pensation even if they require her to convey a portion of her
       property to the government. Ibid. Thus, if a proposed de-
       velopment will “substantially increase traffic congestion,”
       the government may condition the building permit on the
       owner’s willingness “to deed over the land needed to widen
       a public road.” Koontz v. St. Johns River Water Manage-
       ment Dist., 570 U. S. 595, 605 (2013). We have described
       permit conditions of this nature as “a hallmark of responsi-
       ble land-use policy.” Ibid. The government is entitled to
       put the landowner to the choice of accepting the bargain or
       abandoning the proposed development. See R. Epstein,
       Bargaining With the State 188 (1993).
          The bargain takes on a different character when the gov-
       ernment withholds or conditions a building permit for rea-
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        sons unrelated to its land-use interests. Imagine that a lo-
        cal planning commission denies the owner of a vacant lot a
        building permit unless she allows the commission to host
        its annual holiday party in her backyard (in propertyspeak,
        granting it a limited-access easement). The landowner is
        “likely to accede to the government’s demand, no matter
        how unreasonable,” so long as she values the building per-
        mit more. Koontz, 570 U. S., at 605. So too if the commis-
        sion gives the landowner the option of bankrolling the party
        at a local pub instead of hosting it on her land. See id., at
        612–615. Because such conditions lack a sufficient connec-
        tion to a legitimate land-use interest, they amount to “an
        out-and-out plan of extortion.” Nollan, 483 U. S., at 837
        (internal quotation marks omitted).
           Our decisions in Nollan and Dolan address this potential
        abuse of the permitting process. There, we set out a two-
        part test modeled on the unconstitutional conditions doc-
        trine. See Perry v. Sindermann, 408 U. S. 593, 597 (1972)
        (government “may not deny a benefit to a person on a basis
        that infringes his constitutionally protected interests”).
        First, permit conditions must have an “essential nexus” to
        the government’s land-use interest. Nollan, 483 U. S., at
        837. The nexus requirement ensures that the government
        is acting to further its stated purpose, not leveraging its
        permitting monopoly to exact private property without pay-
        ing for it. See id., at 841. Second, permit conditions must
        have “ ‘rough proportionality’ ” to the development’s impact
        on the land-use interest. Dolan, 512 U. S., at 391. A permit
        condition that requires a landowner to give up more than is
        necessary to mitigate harms resulting from new develop-
        ment has the same potential for abuse as a condition that
        is unrelated to that purpose. See id., at 393. This test ap-
        plies regardless of whether the condition requires the land-
        owner to relinquish property or requires her to pay a “mon-
        etary exactio[n]” instead of relinquishing the property.
        Koontz, 570 U. S., at 612–615.
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                                       B
           The California Court of Appeal declined to assess the
        County’s traffic impact fee for an essential nexus and rough
        proportionality based on its view that the Nollan/Dolan test
        does not apply to “legislatively prescribed monetary fees.”
        84 Cal. App. 5th, at 407, 300 Cal. Rptr. 3d, at 316 (internal
        quotation marks omitted). That was error. Nothing in con-
        stitutional text, history, or precedent supports exempting
        legislatures from ordinary takings rules.
           The Constitution’s text does not limit the Takings Clause
        to a particular branch of government. The Clause itself,
        which speaks in the passive voice, “focuses on (and prohib-
        its) a certain ‘act’: the taking of private property without
        just compensation.” Knight v. Metropolitan Govt. of Nash-
        ville & Davidson Cty., 67 F. 4th 816, 829 (CA6 2023). It
        does not single out legislative acts for special treatment.
        Nor does the Fourteenth Amendment, which incorporates
        the Takings Clause against the States. On the contrary,
        the Amendment constrains the power of each “State” as an
        undivided whole. §1. Thus, there is “no textual justification
        for saying that the existence or the scope of a State’s power
        to expropriate private property without just compensation
        varies according to the branch of government effecting the
        expropriation.” Stop the Beach Renourishment, Inc. v. Flor-
        ida Dept. of Environmental Protection, 560 U. S. 702, 714
        (2010) (plurality opinion). Just as the Takings Clause “pro-
        tects ‘private property’ without any distinction between dif-
        ferent types,” Horne v. Department of Agriculture, 576 U. S.
        351, 358 (2015), it constrains the government without any
        distinction between legislation and other official acts. So
        far as the Constitution’s text is concerned, permit condi-
        tions imposed by the legislature and other branches stand
        on equal footing.
           The same goes for history. In fact, special deference for
        legislative takings would have made little sense histori-
        cally, because legislation was the conventional way that
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        8            SHEETZ v. COUNTY OF EL DORADO

                              Opinion of the Court

        governments exercised their eminent domain power. Be-
        fore the founding, colonial governments passed statutes to
        secure land for courthouses, prisons, and other public build-
        ings. See, e.g., 4 Statutes at Large of South Carolina 319
        (T. Cooper ed. 1838) (Act of 1770) (Cooper); 6 Statutes at
        Large, Laws of Virginia 283 (W. Hening ed. 1819) (Act of
        1752) (Hening). These statutes “invariably required the
        award of compensation to the owners when land was
        taken.” J. Ely, “That Due Satisfaction May Be Made:” the
        Fifth Amendment and the Origins of the Compensation
        Principle, 36 Am. J. Legal Hist. 1, 5 (1992). Colonial prac-
        tice thus echoed English law, which vested Parliament
        alone with the eminent domain power and required that
        property owners receive “full indemnification . . . for a rea-
        sonable price.” 1 W. Blackstone, Commentaries on the
        Laws of England 139 (1768).
           During and after the Revolution, governments continued
        to exercise their eminent domain power through legislation.
        States passed statutes to obtain private land for their new
        capitals and provided compensation to the landowners.
        See, e.g., 4 Cooper 751–752 (Act of 1786); 10 Hening 85–87
        (1822 ed.) (Act of 1779). At the national level, Congress
        passed legislation to settle the Northwest Territory, which
        likewise required the payment of compensation to dispos-
        sessed property owners. Northwest Ordinance of 1789, 1
        Stat. 52. Two years later, the Fifth Amendment enshrined
        this longstanding practice. Against this background, it is
        little surprise that early constitutional theorists under-
        stood the Takings Clause to bind the legislature specifi-
        cally. See, e.g., 3 J. Story, Commentaries on the Constitu-
        tion of the United States §1784, p. 661 (1833); 2 J. Kent,
        Commentaries on American Law 275–276 (1827). Far from
        supporting a deferential view, history shows that legisla-
        tion was a prime target for scrutiny under the Takings
        Clause.
           Precedent points the same way as text and history. A
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        legislative exception to the Nollan/Dolan test “conflicts
        with the rest of our takings jurisprudence,” which does not
        otherwise distinguish between legislation and other official
        acts. Knick v. Township of Scott, 588 U. S. 180, 185 (2019).
        That is true of physical takings, regulatory takings, and the
        unconstitutional conditions doctrine in which the Nol-
        lan/Dolan test is rooted.
           Start with our physical takings cases. We have applied
        the per se rule requiring just compensation to both legisla-
        tion and administrative action. In Loretto, we held that a
        state statute effected a taking because it authorized cable
        companies to install equipment on private property without
        the owner’s consent. 458 U. S., at 438. In Horne, we held
        that an administrative order effected a taking because it
        required farmers to give the Federal Government a portion
        of their crop to stabilize market prices. 576 U. S., at 361.
        The branch of government that authorized the appropria-
        tion did not matter to the analysis in either case. Nor
        should it have. As we have explained: “The essential ques-
        tion is not . . . whether the government action at issue
        comes garbed as a regulation (or statute, or ordinance, or
        miscellaneous decree). It is whether the government has
        physically taken property for itself or someone else.” Cedar
        Point, 594 U. S., at 149.
           This principle is evident in our regulatory takings cases
        too. We have examined land-use restrictions imposed by
        both legislatures and administrative agencies to determine
        whether the restriction amounted to a taking. In Pennsyl-
        vania Coal Co. v. Mahon, we held a state statute effected a
        taking because it prohibited the owner of mineral rights
        from mining coal beneath the surface estate, thus depriving
        the mineral rights of practically all economic value. 260
        U. S. 393, 414 (1922). And in Palazzolo v. Rhode Island, we
        remanded for the lower courts to determine whether an
        agency decision effected a taking when it denied the owner
        permission to build a beach club on the wetland portion of
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        his property but allowed him to build a home on the upland
        portion. 533 U. S. 606, 631 (2001). Here again, our deci-
        sions did not suggest that the outcome turned on which
        branch of government imposed the restrictions.
           Excusing legislation from the Nollan/Dolan test would
        also conflict with precedent applying the unconstitutional
        conditions doctrine in other contexts. We have applied that
        doctrine to scrutinize legislation that placed conditions on
        the right to free speech, Agency for Int’l Development v. Al-
        liance for Open Society Int’l, Inc., 570 U. S. 205 (2013), free
        exercise of religion, Sherbert v. Verner, 374 U. S. 398 (1963),
        and access to federal courts, Terral v. Burke Constr. Co.,
        257 U. S. 529 (1922), among others, e.g., Memorial Hospital
        v. Maricopa County, 415 U. S. 250 (1974) (right to travel).
        Failing to give like treatment to legislative conditions on
        building permits would thus “relegat[e the just compensa-
        tion requirement] to the status of a poor relation” to other
        constitutional rights. Dolan, 512 U. S., at 392.
           In sum, there is no basis for affording property rights less
        protection in the hands of legislators than administrators.
        The Takings Clause applies equally to both—which means
        that it prohibits legislatures and agencies alike from impos-
        ing unconstitutional conditions on land-use permits.
                                      III
           The County no longer contends otherwise. In fact, at oral
        argument, the parties expressed “radical agreement” that
        conditions on building permits are not exempt from scru-
        tiny under Nollan and Dolan just because a legislature im-
        posed them. Tr. of Oral Arg. 4, 73–74. The County was
        wise to distance itself from the rule applied by the Califor-
        nia Court of Appeal, because, as we have explained, a legis-
        lative exception to the ordinary takings rules finds no sup-
        port in constitutional text, history, or precedent.
           We do not address the parties’ other disputes over the va-
        lidity of the traffic impact fee, including whether a permit
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                             Opinion of the Court

        condition imposed on a class of properties must be tailored
        with the same degree of specificity as a permit condition
        that targets a particular development. The California
        Court of Appeal did not consider this point—or any of the
        parties’ other nuanced arguments—because it proceeded
        from the erroneous premise that legislative permit condi-
        tions are categorically exempt from the requirements of
        Nollan and Dolan. Whether the parties’ other arguments
        are preserved and how they bear on Sheetz’s legal challenge
        are for the state courts to consider in the first instance.
                                 *   *    *
          The judgment of the California Court of Appeal is va-
        cated, and the case is remanded for further proceedings not
        inconsistent with this opinion.
                                                    It is so ordered.
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                           SOTOMAYOR, J., concurring

        SUPREME COURT OF THE UNITED STATES
                                 _________________

                                 No. 22–1074
                                 _________________


           GEORGE SHEETZ, PETITIONER v. COUNTY OF
                   EL DORADO, CALIFORNIA
           ON WRIT OF CERTIORARI TO THE COURT OF APPEAL OF
                CALIFORNIA, THIRD APPELLATE DISTRICT
                                [April 12, 2024]

           JUSTICE SOTOMAYOR, with whom JUSTICE JACKSON joins,
        concurring.
           I join the Court’s resolution of the limited question pre-
        sented in this case, that conditions on building permits are
        “not exempt from scrutiny under Nollan and Dolan just be-
        cause a legislature imposed them.” Ante, at 10; see Nollan
        v. California Coastal Comm’n, 483 U. S. 825 (1987); Dolan
        v. City of Tigard, 512 U. S. 374 (1994). There is, however,
        an important threshold question to any application of Nol-
        lan/Dolan scrutiny: whether the permit condition would be
        a compensable taking if imposed outside the permitting
        context.
           “A predicate for any unconstitutional conditions claim is
        that the government could not have constitutionally or-
        dered the person asserting the claim to do what it at-
        tempted to pressure that person into doing.” Koontz v. St.
        Johns River Water Management Dist., 570 U. S. 595, 612
        (2013). In the takings context, Nollan/Dolan scrutiny
        therefore applies only when the condition at issue would
        have been a compensable taking if imposed outside the per-
        mitting process. See Koontz, 570 U. S., at 612 (“[W]e began
        our analysis in both Nollan and Dolan by observing that if
        the government had directly seized the easements it sought
        to obtain through the permitting process, it would have
        committed a per se taking”).
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        2             SHEETZ v. EL DORADO COUNTY

                          SOTOMAYOR, J., concurring

           The question presented in this case did not include that
        antecedent question: whether the traffic impact fee would
        be a compensable taking if imposed outside the permitting
        context and therefore could trigger Nollan/Dolan scrutiny.
        The California Court of Appeal did not consider that ques-
        tion and the Court does not resolve it. See ante, at 10–11.
        With this understanding, I join the Court’s opinion.
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                         Cite as: 601 U. S. ____ (2024)            1

                            GORSUCH, J., concurring

        SUPREME COURT OF THE UNITED STATES
                                 _________________

                                 No. 22–1074
                                 _________________


           GEORGE SHEETZ, PETITIONER v. COUNTY OF
                   EL DORADO, CALIFORNIA
           ON WRIT OF CERTIORARI TO THE COURT OF APPEAL OF
                CALIFORNIA, THIRD APPELLATE DISTRICT
                                [April 12, 2024]

          JUSTICE GORSUCH, concurring.
          George Sheetz sued El Dorado County, alleging that the
        county’s actions violated the Takings Clause under the test
        this Court set forth in Nollan v. California Coastal Comm’n,
        483 U. S. 825 (1987), and Dolan v. City of Tigard, 512 U. S.
        374 (1994). State courts dismissed Mr. Sheetz’s suit, hold-
        ing that the Nollan/Dolan test applies only in challenges to
        administrative, not legislative, actions. Today, the county
        essentially confesses error, and the Court corrects the state
        courts’ mistake. It does so because our Constitution deals
        in substance, not form. However the government chooses
        to act, whether by way of regulation “ ‘or statute, or ordi-
        nance, or miscellaneous decree,’ ” it must follow the same
        constitutional rules. Ante, at 9 (quoting Cedar Point
        Nursery v. Hassid, 594 U. S. 139, 149 (2021)).
          The Court notes but does not address a separate question:
        whether the Nollan/Dolan test operates differently when
        an alleged taking affects a “class of properties” rather than
        “a particular development.” Ante, at 11. But how could it?
        To assess whether a government has engaged in a taking
        by imposing a condition on the development of land, the
        Nollan/Dolan test asks whether the condition in question
        bears an “ ‘essential nexus’ ” to the government’s land-use
        interest and has “ ‘rough proportionality’ ” to a property’s
        impact on that interest. Ante, at 6. Nothing about that test
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        2            SHEETZ v. COUNTY OF EL DORADO

                            GORSUCH, J., concurring

        depends on whether the government imposes the chal-
        lenged condition on a large class of properties or a single
        tract or something in between. Once more, how the govern-
        ment acts may vary but the Constitution’s standard for as-
        sessing those actions does not.
           Our precedents confirm as much. In Nollan, the Califor-
        nia Coastal Commission told the plaintiffs that they could
        build a home on their land only if they accepted an ease-
        ment allowing public access across their property along the
        beach. The plaintiffs argued that the commission’s demand
        amounted to a taking without just compensation, and the
        Court agreed. In doing so, the Court acknowledged that the
        commission hadn’t singled out the plaintiffs’ particular
        property for special treatment but “had similarly condi-
        tioned” dozens of other building projects. 483 U. S., at 829.
        It acknowledged, too, that the commission’s demand of the
        plaintiffs came about only because of a “ ‘comprehensive
        program’ ” demanding similar public access easements up
        and down the California coast. Id., at 841. But none of that
        made any difference in the Court’s analysis, the test it ap-
        plied, or the conclusion it reached. All that mattered was
        whether the government’s action amounted to an uncom-
        pensated taking of the property of the plaintiffs whose case
        was actually before the Court. Id., at 838.
           In Dolan, the Court faced a similar situation and reached
        a similar conclusion. There, an Oregon municipality condi-
        tioned a building permit on the plaintiff ’s agreement to
        dedicate part of her land to “flood control and traffic im-
        provements.” 512 U. S., at 377. No one suggested that the
        city had targeted the plaintiff ’s development for special
        treatment; everyone agreed that the city’s challenged action
        was the result of a “comprehensive land use pla[n],” one de-
        veloped to meet “statewide planning goals.” Ibid. Even so,
        the Court held an “individualized determination” necessary
        to determine whether an unconstitutional taking had oc-
        curred under the same test the Court applied in Nollan.
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                            GORSUCH, J., concurring

        512 U. S., at 393.
           The logic of today’s decision is entirely consistent with
        these conclusions. The Takings Clause, the Court stresses,
        is no “ ‘poor relation’ to other constitutional rights.” Ante,
        at 10 (quoting Dolan, 512 U. S., at 392). And the govern-
        ment rarely mitigates a constitutional problem by multiply-
        ing it. A governmentally imposed condition on the freedom
        of speech, the right to assemble, or the right to confront
        one’s accuser, for example, is no more permissible when en-
        forced against a large “class” of persons than it is when en-
        forced against a “particular” group. If takings claims must
        receive “like treatment,” ante, at 10, whether the govern-
        ment owes just compensation for taking your property can-
        not depend on whether it has taken your neighbors’ prop-
        erty too.
           In short, nothing in Nollan, Dolan, or today’s decision
        supports distinguishing between government actions
        against the many and the few any more than it supports
        distinguishing between legislative and administrative ac-
        tions. In all these settings, the same constitutional rules
        apply. With that understanding, I am pleased to join the
        Court’s opinion.
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                         Cite as: 601 U. S. ____ (2024)            1

                           KAVANAUGH, J., concurring

        SUPREME COURT OF THE UNITED STATES
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                                 No. 22–1074
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           GEORGE SHEETZ, PETITIONER v. COUNTY OF
                   EL DORADO, CALIFORNIA
           ON WRIT OF CERTIORARI TO THE COURT OF APPEAL OF
                CALIFORNIA, THIRD APPELLATE DISTRICT
                                [April 12, 2024]

          JUSTICE KAVANAUGH, with whom JUSTICE KAGAN and
        JUSTICE JACKSON join, concurring.
          I join the Court’s opinion.       I write separately to
        underscore that the Court has not previously decided—and
        today explicitly declines to decide—whether “a permit
        condition imposed on a class of properties must be tailored
        with the same degree of specificity as a permit condition
        that targets a particular development.” Ante, at 10–11.
        Importantly, therefore, today’s decision does not address or
        prohibit the common government practice of imposing
        permit conditions, such as impact fees, on new
        developments through reasonable formulas or schedules
        that assess the impact of classes of development rather
        than the impact of specific parcels of property. Moreover,
        as is apparent from the fact that today’s decision expressly
        leaves the question open, no prior decision of this Court has
        addressed or prohibited that longstanding government
        practice.   Both Nollan and Dolan considered permit
        conditions tailored to specific parcels of property. See
        Dolan v. City of Tigard, 512 U. S. 374, 379–381, 393 (1994);
        Nollan v. California Coastal Comm’n, 483 U. S. 825, 828–
        829 (1987). Those decisions had no occasion to address
        permit conditions, such as impact fees, that are imposed on
        permit applicants based on reasonable formulas or
        schedules that assess the impact of classes of development.
